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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 TOPSTEPTRADER, LLC

                        Plaintiff,
                                                      Case Number: 17-cv-4412
        v.                                            Honorable Judge Harry D. Leinenweber

 ONEUP TRADER, LLC, and                               JURY TRIAL DEMANDED
 SATTAM ALSABAH,

                        Defendants.

                              THIRD AMENDED COMPLAINT

       TopstepTrader, LLC (“TST”) operates the internationally renowned premier scouting and

recruiting program to attract, vet, and fund prospective traders that uses patent pending technology,

which has been featured or cited in numerous news articles, such as in Forbes, CNBC, Bloomberg,

Fox Business, and MarketWatch, among others. It provides its clients with software and training

that it spent thousands of hours developing and perfecting. But rather than invest time and

resources into developing its own content, and in violation of the agreements it entered, Defendants

Sattam Alsabah (“Alsabah”), individually, and on behalf of, OneUp Trader, LLC and its

predecessors in interest, successors, or joint ventures thereof, together with any and all parent or

affiliated companies or corporations, and all officers, directors, employees, agents, attorneys,

representatives, and those acting in privity or concert with them, or on their behalf (collectively

“Defendants”) implanted themselves into TST’s training program to gather business intelligence

to study TST’s business platform and intellectual property, and then wholesale copied TST’s

business platform and its copyrighted website content to use on its own website. By using the

information they stole from TST’s program, and by wholesale copying TST’s content, Defendants

were able to become immediately competitive in the financial technology field. Rather than
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expending those resources themselves, Defendants rode off of TST’s hard work. Defendants’

copying and unpermitted uses of TST’s information constitutes copyright infringement, breach of

contract, and in the alternative, unjust enrichment.

                                            PARTIES

       1.       Plaintiff TopstepTrader, LLC (“TST”) is an Illinois limited liability corporation

with a principal place of business at 130 South Jefferson St., Ste. 200, Chicago, Illinois 60661.

TST was incorporated on July 12, 2012.

       2.       Upon information and belief, Defendant OneUp Trader, LLC is a Delaware

limited liability corporation with a principal place of business at 501 Silverside Rd. Ste. 403,

Wilmington, Delaware 19809. OneUp Trader, LLC was incorporated on April 5, 2017.

       3.       Upon information and belief, Sattam Alsabah is an individual residing in Kuwait

City, Kuwait.

                                 JURISDICTION AND VENUE

       4.       This court has subject matter jurisdiction over TST’s claims because they arise

under the Copyright Act, 17 U.S.C. § 101 et seq., because the parties are completely diverse, and

the amount in controversy exceeds $75,000. Federal subject matter jurisdiction is therefore

conferred by 28 U.S.C. §§ 1331, 1332, and 1338.

       5.       This Court has supplemental jurisdiction over the Parties’ state law claims in this

Complaint, which arise under the statutory and common law of the State of Illinois, pursuant to 28

U.S.C. § 1367(a), because the state law claims are so related to the federal claims that they form

part of the same case or controversy and derive from a common nucleus of operative facts.

       6.       Venue and personal jurisdiction are proper in the Northern District of Illinois

under 28 U.S.C. § 1391(b) and (c) because a substantial part of the events giving rise to the claims




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herein occurred here in this District, Defendants are doing business in this District, and Defendants

have promoted infringing goods and services in this District.

        7.        This Court has personal jurisdiction over Defendants because they have

continuous and systematic contacts with the state of Illinois, and because they purposefully

directed its activities toward the state of Illinois, causing harm suffered in the state of Illinois, does

business in this District, and because this action is based upon activities that arise out of or relate

to those contacts.

        8.        Defendants further consented to the exclusive jurisdiction before this Court in

connection with any action arising out of or related to the contract at issue or its subject matter, as

well as Defendants’ wrongful conduct identified herein and they waived any objection based on

lack of personal jurisdiction, place of residence, improper venue or forum non-conveniens in any

such action.

                                    FACTUAL BACKGROUND

        9.        TST created a novel software that allows individuals interested in trading financial

instruments to enter into a simulated market that mirrors the live market, and based on individual

performance, to get funded to trade financial instruments on the live market in exchange for a share

of the profits.

        10.       In less than a decade, TST has grown from a few employees to a multi-million-

dollar company that is now the worldwide leading provider of its proprietary system for scouting

and funding traders.

                  A.    TST’s Patent-Pending Software and Intellectual Property

        11.       In exchange for a monthly subscription fee, a prospective trader first enters into

the Trading Combine®, where the individual will trade financial instruments in a simulated market



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mirroring the live market. If the prospective trader successfully stays within the parameters and

hits specified benchmarks, they will be placed in Funded Trader Preparation®, where the

individual will get accustomed to trading within the same parameters as their live account. If the

individual again stays within the parameters, the prospective trader will be placed into a Funded

AccountTM. At this point, the trader and TST then split the profits.

        12.      This patent-pending technology and software is a one-of-a-kind product that is at

the forefront of the field.

        13.      Because of its innovative technology and process, TopstepTrader has received

many accolades, including being named a 2016 FIA Innovator by the Futures Industry Association,

was a 2016 Chicago Innovation Awards Finalist, and its founder and CEO, Michael Patak, was

also recognized by Ernst & Young as a finalist for its Entrepreneur of the Year Award.

        14.      TST has been featured in numerous news articles, including by Forbes as a

“Techweek Compan[y] To Bet On”, and has also appeared in news sources like CNBC,

Bloomberg, Fox Business, MarketWatch, Built in Chicago, among others. TopstepTrader was also

listed as one of the “101 Best and Brightest Companies to Work For” in 2016, 2017 and 2018.

        15.      TST is the true, rightful, and sole owner of all copyrights and intellectual property

at issue in this action, including the copyright listed below, except as otherwise noted, including

the website www.topsteptrader.com (“Website”) and all content therein.

        16.      TST owns Copyright Registration No. TX 8-369-266 (previously Copyright

Application No. 1-5001234481), named www.topsteptrader.com. Ex. A.

        17.      TST has invested substantial time and resources into developing its copyrighted

material.




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               B.      TST’s Patent-Pending Software and Intellectual Property

       18.      TST’s Website’s full content is only available upon request after entering into an

agreement to be bound by TST’s Terms of Use (“TOU”). A true and correct copy of TST’s TOU

is attached as Exhibit B.

       19.      At all times relevant hereto, a link to TST’s Terms of Use was present on every

page of TST’s Website.

       20.      Certain content and features of TST’s Website, including a user’s access to TST’s

software, applications, online services, products, and other proprietary content is limited to users

who have applied for and registered an account and affirmatively accepted and agreed to be bound

by the terms and conditions contained in the TOU agreement.

       21.      Interested users must provide identifying information to TST (i.e. a user account),

and if accepted, in return for a monthly fee and agreement to abide by the terms and conditions of

the TOU, TST may issue a unique User ID and password combination.

       22.      TST’s Website’s users agree to be bound by the terms and conditions contained in

the current version of TST’s TOU each time they access and use the TST Website.

       23.      In relevant part, during 2015 and until September 16, 2016, the TOU (“Original

TOU”) stated TopstepTrader, LLC (“Company”)

       [H]as adopted these Terms of Use (“Terms of Use” or “Agreement”) to make you
       aware of the terms and conditions of your use of the http://www.topsteptrader.com
       website, any derivative websites on which these Terms of Use are posted and any
       Content or other services that are offered or provided via the aforementioned
       websites (collectively, the “Website”). In the event that you purport to be the agent
       of, represent, or otherwise act on behalf of an entity or any other person, references
       to “you,” “your” or “User” shall include such entity or person in addition to you,
       and your acceptance of this Agreement shall constitute acceptance on behalf of such
       entity or person.

       Company reserves the right, at its discretion to change, modify, add or remove
       portions of these Terms of Use at any time by posting such chances to this



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       page…[t]he continued use of the Website following the posting of changes to these
       Terms of Use will constitute your acceptance of those changes.

A true and correct copy of the Original TOU is attached as Exhibit C.

       24.      Subsequently, the Original TOU was modified and the revised TOU (“Revised

TOU” or “TOU”) was posted at http://www.topsteptrader.com on September 16, 2016. In

accordance with its terms, users who had previously accessed and agreed to be bound by the

Original TOU, whether in their individual capacity, or on behalf of another individual or entity,

and later accessed the TopstepTrader Website, agreed to be and did become bound by the terms

and conditions of the Revised TOU each time such users accessed the Website using login

credentials issued by TST and continued to pay the ongoing monthly subscription fee in exchange.

       25.      The Revised TOU states that, “[b]y using our Sites or Services, whether by

accessing, creating an account, posting or downloading content or otherwise, you accept and agree

to be bound by these Terms.” Ex. B, at 2.

       26.      Additionally, TST has a sign-up page that requires users to certify that they agree

to TST’s TOU, and TST provides a link to the TOU. Ex. D.

       27.      The TOU states that users are granted a limited and revocable license to access

and use TST’s Website, which, among other things, includes various restrictions to that limited

license. For instance, the license restrictions state a user “shall not reproduce, distribute, modify,

create derivative works of, publicly display, publicly perform, republish, download, store or

transmit and of our material,” and that a user “shall not access or use for any commercial purposes

any part of [TST’s] Sites or Services.” Ex. B, at 12.

       28.      The TOU also requires users to acknowledge and agree that “[TST’s] Sites or

Services and their entire contents, features, and functionality (including, all information, software,

text, displays, images, video and audio, and the design, selection and arrangement thereof), are



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owned by TopstepTrader, its licensors or other providers of such material and are protected by

United States and international copyright, trademark, patent, trade secret, and other intellectual

property or proprietary rights laws and treaties.” Ex. B, at 12.

        29.       The TOU further states that “no portion of [TST’s] Sites or Services, their contents

or any copyright, trademark, trade name, service mark or any other proprietary information of

[TST] displayed on [TST’s] Sites or Services…may be reproduced, altered, transmitted, published

or distributed, whether electronically [or otherwise]…without the prior written permission of

[TST],” and users “agree not to undertake any action that will interfere with or diminish [TST’s]

right, title or interest in [its] intellectual property.” Ex. B, at 12.

        30.       The TOU also expressly forbids the “use [of] the Sites or Services to gain

competitive intelligence about [TST] or the Sites or Services to compete with [TST] or its

affiliates.” Ex. B, at 15.

        31.       Users further agree that any “breach of the provisions of this Agreement [will]

cause irreparable harm and significant injury,” and that “[TST] has the right to enforce the

provisions of this agreement by injunction.” Ex. B, at 15-16.

        32.       All users also agree that the TOU shall be “governed by and construed in

accordance with the laws of the State of Illinois,” and they “irrevocably consent to the exclusive

jurisdiction of the courts located in the State of Illinois in connection with any action arising out

of or related to these Terms and their subject matter,” and further “waive any objection based on

lack of personal jurisdiction, place of residence, improper venue or forum non conveniens in any

such action.” Ex. B, at 14.

        33.       As described in greater detail below, Defendants’ conduct is in flagrant violation

of each of these provisions.




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                                  DEFENDANTS’ MISCONDUCT

       34.      On information and belief, Defendant Alsabah intended to and did create a

competing entity to TST by masquerading as a potential trader purportedly interested in becoming

a subscribing TST Website user. All along his purpose was to gather protected and proprietary

information to create a competing entity through which he capitalized upon stolen secrets and

wrongfully obtained information. The competing entity eventually became known as OneUp

Trader, LLC.

       35.      On information and belief, Alsabah, has at all times relevant herein, acted as an

agent of OneUp Trader, LLC with the authority to bind OneUp Trader, LLC and otherwise act on

OneUp Trader, LLC’s behalf. Alternatively, at all times relevant herein, OneUp Trader, LLC is

the alter ego of Alsabah.

       36.      On information and belief, Alsabah has an ownership interest in and is the creator

of OneUp Trader, LLC.

       37.      In or about September 2015, Defendants, at least through Alsabah, accessed TST’s

Website and agreed to be bound by the terms and conditions of the Original TOU.

       38.      In or about Fall 2016 and Spring of 2017, Defendants accessed TST’s Website and

accepted the TOU by clicking on the box next to the words “Please Accept Terms of Use.”

       39.      After Defendants agreed to the terms of the TOU, in reliance thereon, TST issued

user credentials to Defendants.

       40.      Upon information and belief, Defendants and individuals working for or on behalf

of Defendants continued to use these and possibly other user credentials to access TST’s Website

content, software, services, business and proprietary information, which is made available only to

users with user credentials who have accepted to be bound by the terms and conditions of the TOU.




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       41.      On information and belief, through the surreptitious conduct of Alsabah, TST

authorized Defendants to access the TST Website content, software, services, business and

proprietary information for the limited purpose of utilizing the TST Website in accordance with

the terms and conditions of the TOU.

       42.      Since at least 2015, Defendants accessed and used TST’s Website through its

private user interface.

       43.      Defendants repeatedly accessed TST’s Website content, software, services,

business and proprietary information between at least Fall 2016 and Spring 2017.

       44.      On information and belief, Defendant Alsabah’s subsequent interactions with

accessing TST’s website during 2016 and during Spring of 2017, provided actual and constructive

knowledge of TST’s Revised Terms of Use, including its terms and conditions, through his

interaction with and review of TST’s website, repeatedly visiting the webpage, and including

seeing the “terms and conditions,” “Terms of Use” hyperlink, and through going on the Terms of

Use webpage located on https://www.topsteptrader.com/terms-of-use/, and agreed to be bound by

TST’s Revised Terms of Use, which provided Defendant Alsabah with new and additional content

and services, after having knowledge of the Revised Terms of Use.

       45.      Defendant OneUp Trader, LLC on information and belief also continued accessing

TST’s website multiple times during Fall of 2016 through Spring of 2017 through it and its

predecessor in interest, and had actual and constructive knowledge of TST’s Revised Terms of

Use, including its terms and conditions, by repeatedly visiting the webpage, through its interaction

with and review of TST’s website, including through seeing the “terms and conditions,” “Terms

of Use” hyperlink, and through going on the Terms of Use webpage located on

https://www.topsteptrader.com/terms-of-use/, and agreed to be bound by TST’s Revised Terms of




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Use, which provided Defendant OneUp Trader, LLC with new and additional content and services,

after having knowledge of the Revised Terms of Use.

       46.       As a result of Defendants’ continued use and access of TST’s Website, and upon

information and belief, continued payment of the monthly subscription fee through the Spring of

2017, Defendants became bound by the Revised TOU.

       47.       Defendants wrongfully copied TST’s copyrighted content to short-cut product

development, and to directly compete with TST by providing a copycat service. Indeed,

Defendants even stole the same process as TST in that prospective traders trade on a simulator,

and upon satisfying certain profit goals and remaining within certain parameters, get funded with

a profit split between the company and the trader.

       48.       In an effort to deliver its product to its customers faster, and to undercut TST’s

subscription prices and profit splits, Defendants chose to wrongly copy TST’s copyrighted website

material and other proprietary information, rather than invest its own time and resources into

developing it.

       49.       Upon information and belief, and despite agreeing to TST’s Terms of Use

prohibiting such activity, Defendants implanted their people, including two of OneUp Trader,

LLC’s founders, into TST’s Website content, software, services, business and proprietary

information to gain an unfair competitive advantage by learning the methodologies of TST’s

business, collecting business intelligence about TST’s proprietary business structure and methods,

and copying TST’s Website content and copyrighted materials, which they have incorporated into

OneUp Trader, LLC’s business and website.

       50.       In direct breach of TST’s TOU, these individuals and Defendants then used that

ill-gotten data and information to develop a copycat platform to TST.




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       51.      Rather than create its own novel website and process, Defendants copied TST’s

content wholesale, and then tried to hide its direct copying by modifying its content once it was

uncovered. Indeed, Defendants even copied many portions of TST’s website verbatim, and only

changed some of the content after the copying was discovered by TST.

       52.      Because Defendants copied the information directly, and violated the TOU, they

unfairly competed by being able to forgo the costs of developing their own system and content,

and were able to short-circuit the time, resources and intellectual capital required to develop the

product and system; significant resources that TST expended to start its business. This copying

and ill-gotten data and information enabled Defendants to interfere with TST’s relationships with

current and potential users, in large part by undercutting TST’s prices.

       53.      In fact and by way of example, in Defendants’ wholesale copying of the Website,

they even used many of TST’s trademarks, including numerous instances of exact copying and use

of TST’s FUNDED ACCOUNTTM trademark. Ex. E.

       54.      Only after receiving a cease & desist letter from TST, OneUp finally took down

some instances of its use of TST’s FUNDED ACCOUNTTM trademark, while leaving others, and

also made some other changes to mask its copyright infringement. Ex. F.

       55.      However, OneUp Trader, LLC’s website still contained numerous graphs and

tables with either no change or de minimus changes as compared to TST’s website. Ex. F, at 2-3,

6, 9, 12-13, 15. Further, OneUp Trader, LLC’s help section contained multiple pages that were

copied verbatim from TST’s. Ex. F, at 2-3.

       56.      Upon receipt of TST’s second letter dated May 9, 2017, Defendants made some

more revisions to the OneUp Trader, LLC website. However, its website and process are still in

breach of TST’s TOU.



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           57.   TST sent one final letter on May 31, 2017, however, Defendants chose to ignore

TST’s demands to stop violating its TOU, and instead Defendants launched a new website on June

12, 2017. Ex. G.

           58.   Because Defendants are in the same field as TST, and because Defendants had

knowledge that TST owned the copyrighted material, their infringement and breach of the TOU is

willful.

           59.   Defendants’ actions have resulted in, and will continue to result in, substantial and

irreparable harm to TST and consumers.

           60.   TST has repeatedly requested that Defendants remove TST’s copyrighted content

from the OneUp Trader, LLC website and cease all business activities in breach of TST’s TOU.

           61.   But Defendants have rejected all of TST’s reasonable requests to resolve the

matter amicably, so TST was forced to file the instant suit.

                                       COUNT I
                                COPYRIGHT INFRINGEMENT

           62.   TST incorporates the allegations from the preceding paragraphs as if fully set forth

herein.

           63.   TST owns a copyright registration with the United States Copyright Office.

           64.   TST is the true, rightful, and sole owner of the copyrights in its Website and

Website content located at http://www.topsteptrader.com (“Website”) pursuant to Copyright

Registration No. TX 8-369-266 (previously Copyright Application No. 1-5001234481), which

safeguards all protectable TST Website content from unlawful reproduction and use.

           65.   As previously set forth herein, Defendants had access and opportunity to copy

TST’s Website and protected Website content.




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        66.      OneUp Trader, LLC’s website wrongfully contained content and continues to

contain derivative content that is the same and/or substantially similar to TST’s protected Website

content.

        67.      An ordinary reasonable person viewing OneUp Trader, LLC’s website as

compared with TST’s Website would understand that content to be substantially similar. See e.g.,

Website comparison showing substantially similar content, Ex. H.

        68.      By its actions alleged above, Defendants have infringed and continue to infringe

upon TST’s copyrights by copying and willfully reproducing and distributing into the market

infringing content with knowledge that they are either direct copies or derivatives of TST’s

copyrighted website content.

        69.      Defendants unlawfully obtained and used TST copyrighted content and material

without permission or authority and applied it to for the OneUp Trader, LLC website, located at

www.oneuptrader.com/how-it-works/.

        70.      Defendants’ acts of copyright infringement have caused and will continue to cause

damage to TST, in an amount to be proved at trial.

        71.      Defendants’ conduct was done with intentional, willful and/or reckless, and

undertaken with a conscious indifference to TST’s rights.

        72.      By reason of the foregoing, Defendants’ wrongful conduct has damaged TST, and

caused and continues to cause irreparable harm and injury to TST.

        73.      TST is additionally entitled to statutory and enhanced damages, attorneys’ fees,

costs, and injunctive relief.




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                                       COUNT II
                                  BREACH OF CONTRACT

          74.   TST incorporates the allegations from the preceding paragraphs as if fully set forth

herein.

          75.   Use of TST’s Website, its content including its software as well as use of TST’s

services are governed by and subject to TST’s TOU. Ex. B.

          76.   TST’s users are presented with TST’s TOU and must agree to be bound by the

terms and conditions of the TOU in order to obtain user credentials and establish an account.

          77.   At all relevant times, TST also prominently displayed a link to the TOU on TST’s

homepage.

          78.   Upon information and belief, Defendants and/or individuals acting for an on

Defendants’ behalf affirmatively accepted and agreed to be bound by the terms of the Original

TOU in exchange for information on and continuing access and use of TST’s Website content,

software, services, business and proprietary information.

          79.   As set forth above, Defendants and/or individuals acting for and on Defendants’

behalf affirmatively accepted and agreed to be bound by the terms of the Revised TOU in exchange

for a monthly fee and continuing access to TST’s Website content, including use of its software.

          80.   Furthermore, Defendants on information and belief accepted and agreed to be

bound by the terms of the Revised TOU through their interactions with and continued accessing

of TST’s website multiple times during Fall of 2016 through Spring of 2017, and where they had

actual and constructive knowledge of TST’s Revised Terms of Use, including its terms and

conditions, through their interaction with and review of TST’s website, seeing the “terms and

conditions,” seeing the “Terms of Use” hyperlink, and from going on the Terms of Use webpage




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located on https://www.topsteptrader.com/terms-of-use/, which provided Defendants with new

and additional content and services, after having knowledge of the Revised Terms of Use.

       81.      TST’s Original and Revised TOUs are valid and enforceable contracts that are

binding on OneUp.

       82.      With full knowledge of the terms of the TOUs and all of their protections,

limitations, and prohibitions against unauthorized use of TST’s Website content, including its

software, and despite agreeing to abide by the TOUs, Defendants breached the TOUs when they

copied TST’s Website content and its business platforms and protocols, and used TST’s Website

and business template for its benefit, without TST’s consent.

       83.      Among other things, Defendants have breached the TOU including but not limited

to when Defendants violated the provision that states that a user “shall not reproduce, distribute,

modify, create derivative works of, publicly display, publicly perform, republish, download, store

or transmit any of our material.” Ex. B, at 12.

       84.      Defendants also breached the TOU when they violated the provision that states

that a user “shall not access or use for any commercial purposes any part of [TST’s] Sites or

Services.” Ex. B, at 12.

       85.      Defendants also breached the TOU when they violated the provision that states

that “no portion of [TST’s] Sites or Services, their contents or any copyright, trademark, trade

name, service mark or any other proprietary information of [TST] displayed on [TST’s] Sites or

Services…may be reproduced, altered, transmitted, published or distributed, whether

electronically [or otherwise]…without the prior written permission of [TST].” Ex. B, at 12.

       86.      Defendants breached the TOU when they violated the provision that states that

users “agree not to undertake any action that will interfere with or diminish [TST’s] right, title or




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interest in [its] intellectual property.” Ex. B, at 12.

          87.    Defendants further breached the TOU when they violated the provision that

expressly forbids it to “use [TST’s] Sites or Services [of TST] to gain competitive intelligence

about [TST] or the Sites or Services to compete with [TST] or its affiliates.” Ex. B, at 15.

          88.    Defendants have willfully, repeatedly, and systematically breached these, and

other provisions, of TST’s Original and Revised TOU.

          89.    TST has performed all conditions, covenants, and promises required of it in

accordance with TST’s Original and Revised TOU.

          90.    Defendants’ breaches of the TOU have damaged TST, and caused and continues

to cause irreparable harm and injury to TST, including direct and consequential damages such as

lost profits, lost customers, and loss of goodwill.

          91.    Defendants’ conduct was done with evil motive, was fraudulent, intentional,

and/or reckless, and undertaken with a conscious indifference to TST’s rights.

          92.    By reason of the foregoing, Defendants’ wrongful conduct has damaged Topstep,

and caused and continues to cause irreparable harm and injury to TST, in excess of $75,000.

          93.    TST is entitled to injunctive relief, compensatory damages, reasonable attorneys’

fees, and/or equitable relief.

                                            COUNT III
                                      UNJUST ENRICHMENT
                                        (In the Alternative)

          94.    TST incorporates the allegations from the preceding paragraphs as if fully set forth

herein.

          95.    TST has conferred a benefit upon Defendants by allowing Defendants to access to

and use of TST’s Website content, software, services, business and proprietary information.




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       96.      Defendants have benefitted from TST by accessing and using TST’s Website

content, software, services, business and proprietary information without paying for the same.

       97.      By accepting and retaining these benefits, and not paying TST for the same,

Defendants have been unjustly enriched at TST’s expense, thereby damaging TST.

       98.      By reason of the foregoing, Defendants’ wrongful conduct has damaged Topstep,

and caused and continues to cause irreparable harm and injury to TST, in excess of $75,000.



                                   REQUEST FOR RELIEF

WHEREFORE, Plaintiff TopstepTrader, LLC respectfully request that this Court:

       1.       Enter judgment in favor of TST on each of its claims;

       2.       Award TST its actual damages against Defendants to be determined at trial;

       3.       Award TST Defendants’ profits from its aforementioned activities;

       4.       Award TST statutory damages against Defendants;

       5.       Award TST punitive damages against Defendants;

       6.       Award TST all of its costs and reasonable attorneys’ fees in this action as

authorized by 17 U.S.C. § 505 and other applicable laws;

       7.       Awarding pre- and post-judgment interest at the maximum legal rate and costs;

       8.       Award TST an accounting for damages and for all the profits together with those

profits lost by TST due to the actions of Defendants claimed herein for Defendants’ acts of

copyright infringement;

       9.       Preliminarily and permanently enjoin Defendants and their predecessors,

successors, divisions, subsidiaries, or joint ventures thereof, together with any and all parent or




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affiliated companies or corporations, and all officers, directors, employees, agents, attorneys,

representatives, those acting in privity or concert with them, or on their behalf, from:

                  a.    Continuing to operate its website and business in direct contravention of

TST’s TOU;

                 b.     Utilizing the proprietary knowledge its employees gained while passing

through TST’s program to design its competing business;

                 c.     Displaying, copying, distributing, promoting, offering, disseminating, or

selling TST’s copyrighted materials or any modification, derivation, or reproduction thereof;

                 d.     Representing that Defendants have any rights to TST’s copyrights,

including ownership, license, or any other right;

                 e.     Doing and engaging in any of the acts described above and directing

Defendants to conform with each and every provision of this prayer for relief; and

       10.        Grant to TST such other relief as may be just and warranted under the

circumstances.

                                         JURY DEMAND

Plaintiff TopstepTrader, LLC hereby demands a jury trial on all issues so triable.


Dated: May 15, 2018                                 Respectfully submitted,

                                                    TOPSTEPTRADER, LLC,

                                                    By: s/Adam Wolek
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                                CERTIFICATE OF SERVICE

       The undersigned certifies that, on May 15, 2018, he caused this document to be served

upon the following counsel of record through electronic mail delivery.



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                                     By:    /s/Adam Wolek
                                            Adam Wolek




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